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 5                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON
 6

 7   UNITED STATES OF AMERICA,                     No.    12-CR-6053-EFS-8

 8                               Plaintiff,
                                                   ORDER DENYING 28 U.S.C. § 2255
 9                v.                               MOTION

10   EUSEBIO ALVAREZ MALAGA (8),

11                               Defendant.

12

13        Before       the   Court,   without    oral    argument,    is   Defendant/Movant

14   Eusebio Alvarez Malaga's Motion Under 28 U.S.C. § 2255 to Vacate, Set

15   Aside, or Correct Sentence by a Person in Federal Custody, ECF No.

16   1089, filed October 10, 2014.            Having reviewed the pleadings and the

17   file in     this matter, the Court           is fully informed and         denies   the

18   motion.

19                                     I.       BACKGROUND

20        Mr. Alvarez Malaga was charged with conspiracy to distribute 500

21   grams or more of a mixture and substance containing a detectable

22   amount of methamphetamine (Count 1), using a minor to possess with the

23   intent to distribute and to distribute 50 grams or more of a mixture

24   or substance containing a detectable amount of methamphetamine (Count

25   2), and knowingly attempting to possess with the intent to distribute

26   50 grams or more of actual methamphetamine (Count 3).                      Superseding




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 1   Indictment, ECF No. 329.               With the assistance of his counsel William

 2   Schuler a Plea Agreement was reached between Mr. Alvarez Malaga and

 3   the United States Attorney’s Office (USAO).                       Mr. Alvarez Malaga agreed

 4   to plead guilty to Count 1.                Plea Agreement, ECF No. 745.                The USAO

 5   agreed to dismiss the remaining charges and to recommend that Mr.

 6   Alvarez     Malaga    be    sentenced         to    the    low    end     of   the   applicable

 7   Sentencing Guideline range.                   Id.     The Court accepted Mr. Alvarez

 8   Malaga’s     guilty    plea      as    knowing,      intelligent,        and   voluntary,     not

 9   induced by fear, coercion, or ignorance.                           Change of Plea Hearing

10   Transcript, ECF No. 1111, at 66.

11           Mr. Alvarez Malaga initially faced a Sentencing Guideline range

12   of 235 to 293 months, but after he timely accepted responsibility and

13   met the criteria in section 5C1.2 of the Guidelines, he received a

14   five-level reduction in offense level, which resulted in a Guideline

15   range of 135 to 168 months.              Presentence Investigation Report, ECF No.

16   873, at 13–14.        On November 19, 2013, Mr. Alvarez Malaga was sentenced

17   to   120   months     imprisonment        and      five   years    of    supervised    release.

18   Judgment,     ECF    No.   898.         Mr.     Alvarez    Malaga       did    not   appeal   his

19   sentence.

20                              II.        MOTION UNDER SECTION 2255

21           Mr. Alvarez Malaga filed a section 2255 motion on October 10,

22   2014.      ECF No. 1089.         He moved the Court to correct his sentence on

23   three grounds:

24           GROUND ONE: Defense counsel refused to file a notice of appeal,

25           contrary to Mr. Alvarez Malaga’s explicit instructions.

26




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 1        GROUND    TWO:   Defense   counsel   failed    to      conduct    a    reasonably

 2        adequate    investigation   before    advising        Mr.    Alvarez   Malaga   to

 3        plead guilty and failed to “make various objections based on a

 4        decision that was subsequently, overruled.”                 ECF No. 1089, at 6.

 5        GROUND THREE: Defense counsel permitted an excessive sentence to

 6        be imposed without objection or attempt at mitigation under the

 7        United States Sentencing Guidelines.

 8        The Court previously dismissed Grounds One and Three1 and ordered

 9   the USAO to respond to Ground Two.        ECF No. 1091.           The USAO responded

10   to and opposed Mr. Alvarez Malaga’s motion on January 23, 2015.                      ECF

11   No. 1111.     The USAO argues that defense counsel’s representation was

12   within a reasonable standard of conduct and that Mr. Alvarez Malaga

13   was not prejudiced by any alleged deficiency.

14   A.   Applicable Law

15        Section 2255 provides the following:

16        A prisoner in custody under sentence of a court established
          by Act of Congress claiming the right to be released upon
17        the ground that the sentence was imposed in violation of
          the Constitution . . . may move the court which imposed the
18        sentence to . . . correct the sentence.

19        . . . [T]he court shall . . . determine the issues and make
          findings of fact and conclusions of law with respect to
20        [the motion]. If the court finds . . . that there has been
          such a denial or infringement of the constitutional rights
21
     1 In the Court’s prior order, it incorrectly stated that Mr. Alvarez Malaga
22
     received the lowest sentence the Court was permitted to impose.       ECF No.
23   1091, at 4. Because Mr. Alvarez Malaga had met the requirements of section
     5C1.2, the Court was permitted to impose a sentence below the mandatory
     minimum of 120 months.   However, after considering the guideline range and
24   the 18 U.S.C. § 3553 factors, the Court imposed a 120-month sentence.     The
     Court’s misstatement does not affect its conclusion that the sentence was
25   plainly not excessive and that defense counsel was plainly not ineffective by
     permitting an excessive sentence to be imposed without objection or attempt
26   at mitigation. As explained above in Section I, the 120-month sentence was
     the result of defense counsel’s successful attempts at mitigation.




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 1           of the prisoner as to render the judgment vulnerable to
             collateral attack, the court shall vacate and set the
 2           judgment aside and shall . . . correct the sentence as may
             appear appropriate.
 3
     28 U.S.C. § 2255.          Rule 8(a) of the Rules Governing Section 2255
 4
     Proceedings provides that upon receiving Mr. Alvarez Malaga’s motion
 5
     and     the   USAO’s    response     the    Court    shall       "determine       whether    an
 6
     evidentiary hearing is required.              If it appears that an evidentiary
 7
     hearing is not required, the judge shall make such disposition of the
 8
     motion as justice dictates."             A hearing is required if the defendant’s
 9
     allegations require the court to look at facts outside the files and
10
     records.      Frazer v. United States, 18 F.3d 778, 781 (9th Cir. 1994).
11
     B.      Discussion
12
             Mr.   Alvarez     Malaga      asserts     that     he     received        ineffective
13
     assistance     of    counsel      because   his     attorney      failed    to     conduct    a
14
     reasonably adequate investigation before advising him to plead guilty
15
     and also      failed    to make objections based on a                 decision that          was
16
     subsequently overruled.            The right to effective assistance of counsel
17
     in criminal proceedings is bestowed by the Sixth Amendment.                                 This
18
     right    is   violated     when    (1)   counsel's       performance       falls    below    an
19
     objective      standard     of     reasonableness        and    (2)   the    defendant       is
20
     prejudiced by such deficiency.              Hill v. Lockhart, 474 U.S. 52, 57–58
21
     (1985) (citing Strickland v. Washington, 466 U.S. 668 (1984)).                               The
22
     reviewing court is highly deferential to counsel’s chosen performance
23
     and     considers      counsel’s     decisions      in    the    context     of     counsel’s
24
     perspective at the time, rather than through “the distorting effects
25
     of hindsight.”       Strickland, 466 U.S. at 689.
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 1           “A convicted defendant making a claim of ineffective assistance

 2   must identify the acts or omissions of counsel that are alleged not to

 3   have     been        the   result      of    reasonable         professional      judgment.”

 4   Strickland, 466 U.S. at 690.                 Mr. Alvarez Malaga argues that Mr.

 5   Schuler’s performance was ineffective because he did not conduct a

 6   reasonably adequate investigation.               He does not provide specific facts

 7   to indicate how Mr. Schuler’s investigation was inadequate, nor does

 8   he suggest what additional investigation would have uncovered that

 9   could    have    affected       his   decision    to    plead     guilty   or    the   Court’s

10   sentencing analysis.            Likewise, he does not indicate which “decision

11   that was subsequently overruled” should have served as the basis for

12   objections by Mr. Schuler.2

13           The Court’s review of the record has not revealed any acts or

14   omissions       of    defense     counsel    that      fall    outside     the   “reasonable

15   professional judgment” standard.                 Instead, the Court finds that Mr.

16   Schuler     provided       more       than   adequate         representation      under   the

17   circumstances of this particular case.                   It is “well within the range

18   of reasonable competence” to advise a defendant to plead guilty early

19   in the proceedings when the evidence against the defendant is “already

20   overwhelming,” “time [is] of the essence for locking the government

21   into a plea agreement,” and an early plea agreement will allow the

22   defendant to cooperate with the government in an effort to mitigate

23   his sentence.          United States v. Campa, 61 F.3d 912, at *3 (9th Cir.

24   1995) (unpublished).            Here, Mr. Schuler joined his client in all pre-

25   2 The Court notes that if the decision was overruled subsequent to imposition
     of Mr. Alvarez Malaga’s sentence, Mr. Schuler’s decision not to object on
26   that basis cannot be considered deficient when viewed “from counsel’s
     perspective at the time.” Strickland, 466 U.S. at 689.




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 1   trial     motions,       including          the    extensively          litigated     motions       to

 2   suppress.        He ensured that his client would qualify for sentencing

 3   reductions       and     presented          mitigating        factors      to   the        Court     at

 4   sentencing.           Mr. Alvarez Malaga has not articulated what more Mr.

 5   Schuler    should       have        done,   and   he     fails     to    overcome     the    “strong

 6   presumption that counsel’s conduct falls within the wide range of

 7   reasonable professional assistance.”                     Strickland, 466 U.S. at 689.

 8           Additionally,         Mr.     Alvarez     Malaga     has    not    shown     that     he    was

 9   prejudiced       by    his     counsel’s      alleged      deficiencies.            “In     order    to

10   satisfy the ‘prejudice’ requirement, the defendant must show that

11   there is a reasonable probability that, but for counsel’s errors, he

12   would not have pleaded guilty and would have insisted on going to

13   trial.”     Hill, 474 U.S. at 59.                 The Court must consider whether the

14   potentially exculpatory evidence or possible affirmative defense that

15   counsel allegedly failed to discover would have likely changed the

16   outcome of a trial and thus counsel’s recommendation that his client

17   plead guilty.          Id.      Here, Mr. Alvarez Malaga has not pointed to—and

18   the Court has not discovered–any potentially exculpatory evidence or

19   possible affirmative defenses of which Mr. Schuler was not aware.                                   The

20   evidence     against          Mr.     Alvarez     Malaga      included      intercepted        phone

21   conversations,         law     enforcement        surveillance,         evidence      from    a     GPS

22   tracker, and the fact that he was arrested while driving a vehicle

23   with 34 pounds of methamphetamine in a secret compartment.                                 The Court

24   finds     that        there     is     no    information         suggesting         that     further

25   investigation would have had any impact on the overwhelming evidence

26   against Mr. Alvarez Malaga.




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 1           Accordingly, IT IS HEREBY ORDERED:

 2           1.       Mr.    Alvarez       Malaga’s            Motion    under       28   U.S.C.         § 2255   to

 3                    Vacate,      Set     Aside,         or    Correct       Sentence     by       a    Person   in

 4                    Federal Custody, on the basis of ineffective assistance of

 5                    counsel, ECF No. 1089, is DENIED.

 6           2.       The Clerk’s Office is directed to CLOSE this file and the

 7                    related civil file, 4:14-CV-5108-EFS.

 8           3.       The Court DECLINES to issue a certificate of appealability

 9                    because      Mr.     Alvarez         Malaga       has    not    made      a       substantial

10                    showing of a denial of a constitutional right.                                     28 U.S.C.

11                    § 2253(c)(2).

12           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

13   Order and provide copies to counsel and to Mr. Alvarez Malaga.

14           DATED this         3rd      day of February 2015.

15
                                         s/Edward F. Shea
16                                         EDWARD F. SHEA
                                Senior United States District Judge
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